                             EXHIBIT A




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                                    6287
                                                                    Re: Docket No. _____


                      ORDER AUTHORIZING AND APPROVING
                      THE TORT CLAIMANTS’ COMMITTEE’S
             APPLICATION FOR ENTRY OF AN ORDER UNDER 11 U.S.C.
         §§ 1103(a) AND 328(a) AND FED. R. BANKR. P. 2014(a) AUTHORIZING
       RETENTION OF THE CLARO GROUP LLC AS EXPERT CONSULTANT ON
    SEXUAL ABUSE AND EXPERT WITNESS EFFECTIVE AS OF SEPTEMBER 1, 2021


             Upon the Application of the official committee of sexual abuse survivors (the “Tort

Claimants’ Committee”) for entry of an Order Pursuant to 11 U.S.C. §§ 328 and 1103, and Fed.

R. Bankr. P. 2014, Authorizing and Approving the Employment and Retention of The Claro

Group LLC as Expert Consultant on Sexual Abuse and Expert Witness, Effective as of

September 1, 2021 (the “Application”);2 and upon the Declaration of Katie McNally filed in

support of the Application (the “Declaration”); and the Court having jurisdiction to consider the

Application and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and this

matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper in this

District pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief requested in the

Application is in the best interests of the Tort Claimants’ Committee, the Debtors and other

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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Capitalized terms not otherwise defined herein shall have the meanings and definitions ascribed to such terms in
the Application.



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parties in interest; and the Tort Claimants’ Committee having provided adequate and appropriate

notice of the Application under the circumstances; and after due deliberation and good and

sufficient cause appearing therefor; and it appearing to the Court that the said Application should

be approved.

                  IT IS HEREBY ORDERED THAT:

                  1.         The Application is GRANTED as set forth herein.

                  2.         The Tort Claimants’ Committee is hereby authorized to retain and employ

The Claro Group LLC as Expert Consultant on Sexual Abuse and Expert Witness, pursuant to

sections 328 and 1103 of the Bankruptcy Code, and Bankruptcy Rule 2014, on the terms and

conditions set forth in the Application effective as of September 1, 2021.

                  3.         Claro shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ Cases in compliance with

the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the U.S. Trustee

Guidelines, and any other applicable procedures and orders of this Court.

                  4.         Claro is authorized to render professional services to the Tort Claimants’

Committee as described in the Application.

                  5.         The Tort Claimants’ Committee and Claro are authorized and empowered

to take all actions necessary to implement the relief granted in this Order.

                  6.         The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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                  7.         This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




       Dated: October 8th, 2021                            LAURIE SELBER SILVERSTEIN
       Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE
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